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                                  IN THE
                       UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF
                               PENNSYLVANIA




 UNITED STATES                                           :

                 v.                                      :       Criminal No. 23-159

 DENISE LODGE                                            :



                                               ORDER


       AND NOW, this           day of May, 2024, upon the defendant, Denise Lodge’s Unopposed

Motion to Amend Conditions of Pretrial Release, paragraph 7(n) of the Order of June 28, 2023, (Dkt.

#39) is hereby AMENDED to SUSPEND any and all drug testing requirements.




                                       BY THE COURT:



                                       ______________________________________________
                                       HONORABLE CHIEF JUDGE MATTHEW W. BRANN
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                                      IN THE
                           UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF
                                   PENNSYLVANIA




 UNITED STATES OF AMERICA                                    :

                     v.                                      :        Criminal No. 23-159

 DENISE LODGE                                                :



               DEFENDANT’s UNOPPOSED MOTION TO MODIFY CONDITIONS
                                      OF
                               PRETRIAL RELEASE



        The defendant, Denise Lodge, by and through her attorney, Hope C. Lefeber, Esquire, hereby

files the instant Unopposed Motion to Modify Conditions of Pretrial Release, to suspend drug testing, and

states as follows:

        1. On June 28, 2023, Magistrate Judge William Arbuckle, entered an Order Setting Conditions

            of Release (“Order”) (Dkt #39) releasing the defendant on her own recognizance subject to

            certain conditions of release. Paragraph 7(n) of the Order provides that the defendant must:

                      (n) submit to testing for a prohibited substance if required by the pretrial services
                      office or supervising officer. Testing may be used with random frequency and may
                      include urine testing, the wearing of a sweat patch, a remote alcohol testing system,
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           and/or any form of prohibited substance screening or testing. The defendant must not
           obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
           substance screening or testing.



2. The defendant has no history of drug abuse, whatsoever, and none is documented in her

    medical history.



3. The drug testing requirement, in this case, is overly burdensome due to her serious medical

    conditions, which require her to endure continual invasive medical testing.



4. Sean Camoni, Assistant United States Attorney, advises that the government has no objection

    to this request and has, similarly, foregone requesting drug testing in previous cases where

    there was no history of drug abuse and circumstances made testing an undue burden. The

    United States Probation Department takes no position.


    WHEREFORE, it is respectfully requested that the instant Motion be GRANTED.



                                 Respectfully,

                                 HOPE C. LEFEBER, LLC

                                 By:



                                 _____________________________
                                 HOPE C. LEFEBER, ESQUIRE
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                                    CERTIFICATE OF SERVICE




        I certify that a copy of the attached Unopposed Motion to Amend Conditions of Release was served

upon the counsel of record, by electronic filing, on May 6, 2024:




                                                        /s/
                                                 ______________________________
                                                 HOPE C. LEFEBER
